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1    Charles J. Harder (SBN 184593)
     Jordan Susman (SBN 246116)
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5
     Attorneys for Plaintiffs
6    John J. Hurry, Justine Hurry, Investment
     Services Corporation, BRICFM LLC
7
8                         IN THE UNITED STATES DISTRICT COURT
9                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
11   John J. Hurry and Justine Hurry, as husband
     and wife, Investment Services Corporation,    Case No. 3:17-mc-80026-LB
12   an Arizona corporation, BRICFM dba
     Corner of Paradise Ice Cream Store, a         (D. Ariz. No. 14-cv-02490-PHX-ROS)
13   California limited liability company
                                                   DECLARATION OF JORDAN
14                    Plaintiffs,                  SUSMAN IN SUPPORT OF
                                                   PLAINTIFFS’ OPPOSITION TO
15              v.                                 THIRD PARTY WILLIAM
                                                   MEAGHER’S MOTION TO QUASH
16   Financial Industry Regulatory Authority,      SUBPOENA
     Inc., a Delaware corporation,
17                                                 Date: April 6, 2017
                      Defendant.                   Time: 9:30 a.m.
18                                                 Courtroom: C
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1               I, JORDAN SUSMAN, being of lawful age and otherwise competent to testify in a
2    court of law, do hereby declare under penalty of perjury that the following is true and
3    correct pursuant to 28 U.S.C. § 1746:
4               1.    I am an attorney duly licensed to practice before all courts of the State of
5    California and in the Northern District of California. I am Of Counsel at the law firm of
6    Harder Mirell & Abrams LLP, counsel of record for Plaintiffs John Hurry, Justine Hurry,
7    Investment Services Corporation, and BRICFM dba Corner of Paradise Ice Cream Store
8    (collectively, “Plaintiffs”). I make this declaration based upon my personal knowledge
9    and submit this declaration together with the exhibits annexed hereto in support of
10   Plaintiffs’ Opposition to Motion to Quash Subpoena filed by third party William Meagher
11   in an action currently pending in the District of Arizona (case no. 14-cv-02490-PHX-
12   ROS) (the “FINRA Action”).
13              2.    Annexed hereto as Exhibit 1 is a true and correct copy of Plaintiffs’
14   operative Second Amended Complaint in the FINRA Action. FINRA Action Dkt. No. 71.
15              3.    On February 7, 2017 FINRA produced more than 8,000 pages of
16   documents, or approximately 73% of all documents produced by FINRA in the FINRA
17   Action.
18              4.    Between February 17 and February 28, 2017, the parties in the FINRA
19   Action conducted 13 separate depositions in Phoenix, New York, and Washington D.C.
20              5.    Annexed hereto as Exhibit 2 is a true and correct copy of the Subpoena to
21   Testify at a Deposition in a Civil Action (“Subpoena”) that I prepared on February 14,
22   2017. The Subpoena set Mr. Meagher’s deposition for March 1, 2017 in San Francisco –
23   the last day for fact discovery in the FINRA Action.
24              6.    Annexed hereto as Exhibit 3 is a true and correct copy of the Proof of
25   Service of the Subpoena on William Meagher.
26              7.    Annexed hereto as Exhibit 4 is a true and correct copy of the email and letter
27   I received via email on February 27, 2017 at approximately 4:35 p.m. PST from Elizabeth
28   A. McNamara, counsel for Mr. Meagher.

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1               8.       On February 28, 2017 at approximately 7:32 a.m. PST, I met and conferred
2    with Ms. McNamara telephonically regarding Mr. Meagher’s deposition. Over the course
3    of our 14 minute phone call, I offered to unilaterally withdraw the requests for production
4    that accompanied the Subpoena. In addition, I informed Ms. McNamara that Plaintiffs
5    would not ask Mr. Meagher at his deposition to divulge the sources of the defamatory
6    statements in his articles. I further informed Ms. McNamara that I would only ask
7    questions that do not fall within the ambit of California’s press shield law, including:
8                      Did Mr. Meagher write every word in the articles?
9                      Did Mr. Meagher write the headlines that accompanied his articles?
10                     Do the articles contain hyperbole, opinion, or conjecture?
11                     What steps did Mr. Meagher take to fact check the allegations in his
12                       articles?
13                     What are the Deal Pipeline’s policies for fact checking stories?
14                     Did Mr. Meagher follow those policies?
15              9.       Ms. McNamara told me that she would seek direction from her client,
16   whether he would appear at his deposition, based upon my numerous concessions in our
17   meet and confer. Ms. McNamara called me back less than one hour later on February 28,
18   2017 and informed me that neither she nor Mr. Meagher would entertain any compromise
19   that would allow Mr. Meagher to appear at his duly noticed deposition and instead would
20   file the current Motion to Quash.
21              10.      Annexed hereto as Exhibit 5 is a true and correct copy of FINRA’s Answer
22   to the operative complaint in the FINRA Action. FINRA action Dkt. No. 88.
23              11.      If Mr. Meagher testifies that he, or his employer, requires more than one
24   source for any allegation in an article, it would significantly impact Plaintiffs’ claims
25   against FINRA, as it would indicate that there was more than one source for the
26   allegations in Mr. Meagher’s articles.
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       Case 3:17-mc-80026-LB Document 12-1 Filed 03/14/17 Page 4 of 5



1               I declare under penalty of perjury under the laws of the United States that the
2    foregoing is true and correct. Executed this 14th day of March 2017 in Los Angeles,
3    California.
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6                                                           Jordan Susman
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1
                                CERTIFICATE OF SERVICE
2
3           I HEREBY CERTIFY that a true and correct copy of the foregoing document has
     been furnished via e-mail this 14th day of March, 2017 to the following:
4
     Joseph G. Adams
5    Carlie Tovrea
     Snell & Wilmer LLP
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     jgadams@swlaw.com
9
     Attorney for Plaintiffs
10
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11   Gregory A. Davis
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14   gregory.schneider@squirepb.com
     gregory.davis@squirepb.com
15   george.brandon@squirepb.com
16   Attorney for Defendants
17
                                                        /s/ Vivian Winn
18                                                      VIVIAN WINN
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